      Case 6:14-cr-06161-CJS-MWP Document 113 Filed 10/04/21 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
                                                         ORDER
vs.
                                                         14-CV-6161 (CJS)
RUBEN HOLTON,

                      Defendant.
________________________________


       This matter is now before the Court on Defendant Ruben Holton’s motion for

reconsideration of the Court’s order denying his motion for compassionate release. Mot.

for Recons., Aug. 25, 2021, ECF No. 107; Supp. Brief, Sept. 7, 2021, ECF No. 110. For

the reasons stated below, Holton’s motion for reconsideration [ECF No. 107] is denied.

                                      BACKGROUND

       On March 17, 2021, Defendant filed a motion for compassionate release, arguing

that the Court should grant relief based on his severe chronic asthma, the sub-standard

treatment he received when he was infected with Covid-19, and the spread of Covid-19

at Holton's facility, Schuylkill FCI. ECF No. 101. On May 4, 2020, the Court denied the

motion, explaining:

       The Court has considered the sentencing factors set forth in 18 U.S.C.
       3553(a), as well as Holton's criminal history, and concludes that the factors
       weigh against [Holton]'s release. Specifically, a reduction in sentence would
       not reflect the seriousness of the offense, promote respect for the law,
       provide just punishment, afford adequate deterrence, or protect the public
       from future crimes by the Defendant. Notably, a review of the record reveals
       a history of felony drug offenses, and disregard for the law and the safety
       and well-being of others. For instance, the conviction for which he is now in
       custody involved possession of a[] loaded shotgun, which he acquired
       illegally, within 1,000 feet of a school. In addition to the present conviction,

                                              1
     Case 6:14-cr-06161-CJS-MWP Document 113 Filed 10/04/21 Page 2 of 5




      Holton has three prior drug convictions involving the intent to sell, and two
      prior convictions for driving while intoxicated.

      Moreover, after considering the "full slate" of reasons Holton has presented
      for modifying his sentence - including the recent worsening of his chronic
      asthma, his infection with Covid-19, the conditions at Schuylkill FCI, the
      dangers of the Covid-19 pandemic, and his plans to be a productive citizen
      upon release - the Court finds no extraordinary and compelling reasons
      warranting a modification of his imposed term of imprisonment. See United
      States v. Brooker, 976 F.3d 228, 236-37 (2d Cir. 2020) (finding the district
      court is not constrained by Guideline 1B1.13, Application Note 1(D)).


Order, ECF No. 106 at 4. The present motion asks the Court to reconsider its previous

order on account of Holton’s “new diagnosis of Dizziness and giddiness,” his worsening

medical condition, and FCI Schuylkill’s alleged failure to provide him with adequate or

competent medical care. Mot. for Recons. at ¶ 9.

                                  LEGAL STANDARD

      Although the Federal Rules of Criminal Procedure do not specifically recognize

motions for reconsideration, such motions “have traditionally been allowed within the

Second Circuit.” United States v. Brown, 511 F. Supp.3d 431, 434 (W.D.N.Y. 2021)

(quoting United States v. Yannotti, 457 F. Supp. 2d 385, 388 (S.D.N.Y. 2006)). District

courts “have applied the applicable civil standard to such motions in criminal cases.” Id.

(quoting United States v. Larson, No. 07-CR-304S, 2013 WL 6196292, at *2 (W.D.N.Y.

Nov. 27, 2013)).

      It is well-settled that:

      The standard for granting ... a motion [for reconsideration] is strict, and
      reconsideration will generally be denied unless the moving party can point
      to controlling decisions or data that the court overlooked—matters, in other
      words, that might reasonably be expected to alter the conclusion reached
      by the court.


                                            2
     Case 6:14-cr-06161-CJS-MWP Document 113 Filed 10/04/21 Page 3 of 5




Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). Common grounds for

reconsideration include “an intervening change of controlling law, the availability of new

evidence, or the need to correct a clear error or prevent manifest injustice.” Virgin Atl.

Airways, Ltd. v. Nat'l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir. 1992) (citation omitted).

                                      DISCUSSION

       As Holton has filed this motion for reconsideration pro se, it has been liberally

construed to raise the strongest arguments that it suggests. Triestman v. Fed. Bureau of

Prisons, 470 F.3d 471, 474–75 (2d Cir. 2006). Nevertheless, Holton’s arguments fail to

“point to controlling decisions or data that the court overlooked” that might reasonably be

expected to alter the Court’s previous conclusions. Shrader, 70 F.3d at 257.

       Holton suggests that he is entitled to compassionate release or a reduction in

sentence pursuant to 18 U.S.C. § 3582(c)(1)(A). § 3582(c)(1)(A) provides that a court

may reduce a sentence if it finds, “after considering the [sentencing] factors set forth in

section 3553(a) to the extent they are applicable,” that “extraordinary and compelling

reasons warrant such a reduction” and that the reduction “is consistent with applicable

policy statements issued by the Sentencing Commission.” The Second Circuit has held

that district courts are not bound by the limited reasons listed in U.S. Sentencing

Guidelines Manual § 1B1.13, but are free to “consider the full slate of extraordinary and

compelling reasons that an imprisoned person might bring before them in motions for

compassionate release.” United States v. Brooker, 976 F.3d 228, 230 (2d Cir. 2020).

       Holton here fails to present any extraordinary and compelling circumstances

warranting his release, or to persuade the Court of an error in its previous consideration

of the § 3553(a) sentencing factors. To begin with, the latest numbers published by the

                                             3
      Case 6:14-cr-06161-CJS-MWP Document 113 Filed 10/04/21 Page 4 of 5




Bureau of Prisons indicate that there is a single active case of Covid-19 at FCI Schuylkill,

a staff-member rather than an inmate. See https://www.bop.gov/coronavirus/# (last

accessed Oct. 1, 2021); see also United States v. Session, No. 06-CR-6091L, 2021 WL

2195505, at *1 (W.D.N.Y. June 1, 2021) (denying compassionate release to a different

FCI Schuylkill inmate with heightened Covid-19 risk factors). Further, several courts in

this circuit considering cases brought by inmates who had already contracted COVID-19

have held that the inmates were required to demonstrate that the facility was not providing

adequate medical care. United States v. Ortiz, No. 08 CR. 548 (DC), 2021 WL 2809126,

at *3 (S.D.N.Y. July 6, 2021) (collecting cases). Yet medical records from the prison,

including those submitted most recently by Holton with his supplemental brief, indicate

that he received regular attention, was offered the Pfizer Covid-19 vaccine, and was not

denied necessary medical care. See, e.g., Supp. Brief at 2–13 (reflecting numerous

instances of the facility nurse checking Holton’s vitals). These records also indicate that

although Holton appears to have had additional medical issues 1 - including dizziness and

giddiness – since his infection with Covid-19, these issues are being actively and

adequately managed. Supp. Brief at 6–13 (assessing issues with Holton’s anus and

rectum, and scheduling a follow-up sick-call the following month).

        Lastly, after a further review of the record in Holton’s case, the Court declines to

alter its previous assessment that the § 3553(a) sentencing factors weigh against Holton’s

release.


1 Holton also indicates that he “has done his own studies, from his ‘LAB RESULTS’ from 2017 to present,”
and concluded he is a candidate for “Chronic Anemic/Sickle Cell Disease,” an additional Covid-19 risk
factor. Mot. to Recons. at ¶ 17. There does not appear to be a diagnosis of this condition by a medical
doctor in the record.

                                                   4
     Case 6:14-cr-06161-CJS-MWP Document 113 Filed 10/04/21 Page 5 of 5




                                     CONCLUSION

      Accordingly, it is hereby ORDERED that Holton’s application for reconsideration

[ECF No. 107] is denied. The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any

appeal from this Order would not be taken in good faith, and leave to appeal to the Court

of Appeals as a poor person is denied. Coppedge v. United States, 369 U.S. 438 (1962).

Further requests to proceed on appeal as a poor person should be directed, on motion,

to the United States Court of Appeals for the Second Circuit, in accordance with Rule 24

of the Federal Rules of Appellate Procedure.

      IT IS SO ORDERED.

DATED:       October 4, 2021
             Rochester, New York
                                                ___________________________
                                                CHARLES J. SIRAGUSA
                                                United States District Judge




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